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     Co-Lead Counsel for the Proposed Class
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     [Additional Counsel Listed on the Signature Page]
14
                       UNITED STATES DISTRICT COURT
15
                     NORTHERN DISTRICT OF CALIFORNIA
16                        SAN FRANCISCO DIVISION
17
   MICHELLE SALINAS, RAYMEL
18 WASHINGTON, and AMANDA
19 GORDON, individually and on behalf       Case No.: 3:22-cv-04823
   of all others similarly situated,
20                                    JOINT STIPULATION TO DISMISS
21               Plaintiffs,          MOTION TO INTEVENE

22         v.
23                                         Judge: Hon. Sallie Kim
   BLOCK, INC. and CASH APP
24 INVESTING, LLC,
25
              Defendants.
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                 JOINT STIPULATION TO DISMISS MOTION TO INTERVENE
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 1 WHEREAS, Plaintiffs Michelle Salinas and Raymel Washington filed a Class
 2 Action Complaint in this matter on August 8, 2023;
 3 WHEREAS, on February 9, 2024, Plaintiffs Michelle Salinas, Raymel Washington,
 4 and Amanda Gordon filed a Consolidated Class Action Complaint;
 5 WHEREAS, the parties engaged in mediation sessions in October and November
 6 2023 and continued arms-length settlement discussions thereafter;
 7 WHEREAS, on March 3, 2024, Plaintiffs filed a Motion for Preliminary Approval
 8 of Class Action Settlement;
 9 WHEREAS, on June 3, 2024, Judge Sallie Kim issued an order Granting Plaintiffs’
10 Motion for Preliminary Approval of Class Action Settlement;
11 WHEREAS, on September 9, 2024, Curwood L. Price, a class member to this action,
12 filed a Motion to Intervene in this matter, raising concerns over his ability to submit
13 is claim in this matter;
14 WHEREAS, undersigned counsel contacted Mr. Price and addressed his concerns
15 on how to submit his claim, rendering his Motion to Intervene moot.
16 MR. PRICE AND COUNSEL FOR PLAINTIFFS HEREBY STIPULATE AND
17 AGREE, that Mr. Price’s Motion to Intervene shall hereby be dismissed with
18 prejudice.
19 Dated: September 23, 2024
20
21    /s/Curwood L. Price                  /s/David A. Goodwin
     Curwood L. Price                     Daniel E. Gustafson (admitted pro hac vice)
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                 JOINT STIPULATION TO DISMISS MOTION TO INTERVENE
     Case 3:22-cv-04823-SK Document 106 Filed 09/23/24 Page 3 of 4




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21                             Attorneys for Plaintiffs
                               and the Putative Class
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             Case 3:22-cv-04823-SK Document 106 Filed 09/23/24 Page 4 of 4




 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on September 23, 2024, I caused the foregoing to be filed
 3   electronically using the Court’s electronic case filing (ECF) system, which will
 4   automatically send a notice of electronic filing to the email addresses of all counsel
 5   of record.
 6         I further certify that a copy of the foregoing was emailed to Curwood L. Price
 7   on September 23, 2024 at miimage24@gmail.com.
 8
 9   Dated: September 23, 2024                     /s/David A. Goodwin
                                                   David A. Goodwin
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                  JOINT STIPULATION TO DISMISS MOTION TO INTERVENE
